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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     JANICE ALTMAN, et al.,                              Case No. 20-cv-02180-SVK
                                   8                    Plaintiffs,
                                                                                             ORDER OF RECUSAL
                                   9              v.

                                  10     COUNTY OF SANTA CLARA, et al.,
                                  11                    Defendants.

                                  12          This Court recuses itself from hearing this case and directs the Clerk of Court to reassign this
Northern District of California
 United States District Court




                                  13   case to another judge.
                                  14          SO ORDERED.
                                  15   Dated: April 1, 2020
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                                  18                                                                  SUSAN VAN KEULEN
                                                                                                      United States Magistrate Judge
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